
29 So. 3d 387 (2010)
Jean F. BARTHELEMY, Petitioner,
v.
STATE of Florida, Respondent.
No. 5D10-375.
District Court of Appeal of Florida, Fifth District.
February 26, 2010.
Robert Wesley, Public Defender and Aliette-Marie Charles, Assistant Public Defender, Orlando, for Appellant.
No Appearance for Appellee.
PER CURIAM.
The petition for belated appeal is granted. A copy of this opinion will be filed with the lower court and be treated as the notice of appeal from the judgment and sentence in Case No. 09-CF-10659-O in *388 the Circuit Court in and for Orange County. See Fla. R.App. P. 9.141(c)(5)(D).
PETITION GRANTED.
SAWAYA, PALMER and EVANDER, JJ., concur.
